     Case 2:10-cr-00347-DAD-JDP Document 278 Filed 07/01/13 Page 1 of 2


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 5   IMESH PERERA
 6
 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                      )      Case No. 2:10-cr-00347-MCE
10                                                  )
                    Plaintiff,                      )
11          vs.                                     )
                                                    )      STIPULATION AND ORDER TO
12                                                  )      CONTINUE STATUS CONFERENCE
     DISHAN PERERA, et al.
                                                    )
13                                                  )      Court: Hon. Morrison C. England
                    Defendant.                      )      Time: 9:00 a.m.
14                                                  )      Date: June 27, 2013
                                                    )
15
16          Defendant Imesh Perera, by and through their undersigned counsel and the United States

17   Government, by and through Assistant United States Attorney Todd Leras, hereby agree and

18   stipulate that the status conference previously scheduled for June 27, 2013 be continued until
19   August 8, 2013. The defendant is charged in a five count indictment alleging violations of 21
20
     U.S.C. §§s 841 (a) (1) and § 846 – possession with intent to distribute and conspiracy to
21
     distribute methamphetamine. The government has previously provided a Plea Agreement to the
22
     defendant. It includes a factual basis stretching over a period of more than one year and
23
24   involving numerous intercepted telephone conversations. The defense has requested the

25   government provide some additional information clarifying relevant aspects as to some of the

26   incidents mentioned in the factual basis. The government has recently provided this information
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     and the defense needs additional time to review the materials. The parties therefore agree that
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     Case 2:10-cr-00347-DAD-JDP Document 278 Filed 07/01/13 Page 2 of 2


 1   additional time is needed to finalize the terms of the resolution. Therefore, the parties request a
 2   status conference date of August 8, 2013 and that date is available with the Court.
 3
            The parties agree that time should be excluded under 18 U.S.C. § 3161 (h) (8) (i) for
 4
     defense preparation and under local code T4.
 5
     Dated: June 21, 2013
 6                                                 Respectfully submitted,
 7                                                 LAW OFFICES OF MARK WAECKER

 8                                                 _______/s/_Mark Waecker__________
                                                   Mark Waecker, Esq.
 9                                                 Attorney for Defendant,
                                                   IMESH PERERA
10   Dated: June 21, 2013
11
                                                   _______/s/__Todd Leras____________
12                                                 Todd Leras
                                                   Assistant United States Attorney
13                                                 Attorney for Plaintiff
                                                   UNITED STATES OF AMERICA
14
15
                                                  ORDER
16
            Good cause having been shown, it is hereby ordered that the status conference currently
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     scheduled for June 27, 2013, is continued to August 8, at 9:00 a.m. Based on the representation
18
19   of the parties, the Court finds that the ends of justice served by granting the continuance

20   outweigh the best interest of the public and the defendant in a speedy trial. Time under the
21   Speedy Trial Act shall be excluded under 18 U.S.C. § 3161(h)(7)(B)(4) and Local Code T-4 up
22
     to and including August 8, 2013.
23
            IT IS SO ORDERED.
24
     Dated: June 27, 2013
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